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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                                                                                       December 21, 2021
                                                                                                       Nathan Ochsner, Clerk
                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re                                                        Chapter 11

    FIELDWOOD ENERGY LLC, et al.,                                Case No. 20-33948 (MI)

            Debtors.1                                            (Jointly Administered)


             STIPULATION AND AGREED ORDER BY AND BETWEEN THE PLAN
                ADMINISTRATOR AND BENOIT PREMIUM THREADING, LLC


            David Dunn, the administrator of the chapter 11 plan (the “Plan Administrator”) of the

above-captioned reorganized debtors, and Benoit Premium Threading, LLC (“Benoit,” and

together with the Plan Administrator, the “Parties”), hereby stipulate and agree as follows:

            WHEREAS, on August 3 and 4, 2020, Fieldwood Energy LLC, and certain of its

affiliates (collectively, the “Debtors,” as applicable, and after the effective date of their plan of

reorganization, the “Reorganized Debtors”) each commenced a case by filing a petition for

relief under Chapter 11 of the Bankruptcy Code;

            WHEREAS, on August 19, 2020, Benoit filed one proof of claim, as Claim No. 48 (the

“Benoit Claim”);




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
    Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489);
    Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM
    Shelf LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP
    LLC (1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’
    primary mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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          WHEREAS, on June 25, 2021, the Court confirmed the Modified Eighth Amended Joint

Chapter 11 Plan of Fieldwood Energy LLC and its Affiliated Debtors [Docket No. 2008] (the

“Plan”);

          WHEREAS, on October 14, 2021, the Parties executed the ongoing trade agreement for

unsecured trade creditors (the “Trade Agreement”) substantially in the form attached as Exhibit

6-A of the Amended Order (I) Approving Disclosure Statement and Form and Manner of Notice

of Disclosure Statement Hearing; (II) Establishing Solicitation and Voting Procedures; (III)

Scheduling Confirmation Hearing; (IV) Establishing Notice and Objection Procedures for

Confirmation of the Proposed Plan; (V) Approving Notice and Objection Procedures for the

Assumption of Executory Contracts and Unexpired Leases; (VI) Approving Procedures for

Objections to the Assignment and Transfer of Property of the Estate; and (VII) Granting Related

Relief;

          WHEREAS, pursuant to the Trade Agreement and in accordance with the treatment

specified in section 4.6 of the Plan for holders of Class 6A: Unsecured Trade Claims, the Parties

have agreed upon an allowed amount in respect of the Benoit Claim (the “Agreed Prepetition

Claim”) as set forth in the Trade Agreement, including any applicable Agreed 503(b)(9) Claim,

and have further agreed that the Plan Administrator shall make a distribution on account of the

Agreed Prepetition Claim in full satisfaction of the Benoit Claim contemporaneous with the

execution of the Trade Agreement and this stipulation.

Based on the foregoing recitals, the Parties hereby Stipulate and Agree as follows:2

          1.    Upon execution of this stipulation and the Trade Agreement, Benoit Claim shall

be deemed fully satisfied and withdrawn.




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           2.       Notwithstanding anything to the Contrary in the Bankruptcy Code, Bankruptcy

Rules, or Local Bankruptcy Rules, neither the Bankruptcy Court’s approval of this stipulation

nor the effectiveness of this stipulation shall be stayed in any respect. This stipulation shall be

effective immediately upon entry.

           3.       This stipulation is binding upon the Parties, their successors, assigns, affiliates,

officers, directors, shareholders, investors, members, employees, agents, and processionals.

           4.       The Bankruptcy Court shall retain exclusive jurisdiction with respect to all

matters arising from or relating to the interpretation and/or enforcement of this stipulation.

           IT IS SO ORDERED.


  Signed: December
          October 17,21, 2021
                      2018
Dated: ______ __, 2021                                          ____________________________________
                                                                THE____________________________________
                                                                     HONORABLE MARVIN ISGUR
                                                                UNITED STATES Marvin     Isgur
                                                                                  BANKRUPTCY      JUDGE
                                                                       United States Bankruptcy Judge



AGREED AS TO FORM AND CONTENT:

Dated: December 21, 2021

/s/ Michael D. Warner______________________                         /s/ Joseph G. Epstein_____________________
Michael D. Warner, Esq. (TX Bar No. 00792304)                       Joseph G. Epstein, Esq. (TX. Bar No. 06639320)
Benjamin L. Wallen, Esq. (TX Bar No. 24102623)                      JOSEPH G. EPSTEIN PLLC
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    The preceding recitals are intended to be factual recitations of the Parties and are therefore incorporated into the
    stipulated terms herein and are intended to be incorporated into the Court’s order approving the stipulation.


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- and –

Kristopher M. Hansen, Esq. (admitted pro hac vice)
Kenneth Pasquale, Esq. (admitted pro hac vice)
Gabriel Sasson, Esq. (admitted pro hac vice)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of December, 2021, a true and correct copy of the
above and foregoing has been served by electronic transmission to all registered CM/ECF users
appearing in these cases.

                                                     /s/ Michael D. Warner_________
                                                     Michael D. Warner




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